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                                                                        1 Daniel A. Lev (CA Bar No. 129622)
                                                                           dlev@sulmeyerlaw.com
                                                                        2 SulmeyerKupetz
                                                                            A Professional Corporation
                                                                        3 333 South Grand Avenue, Suite 3400
                                                                          Los Angeles, California 90071-1406
                                                                        4 Telephone: 213.626.2311
                                                                          Facsimile: 213.629.4520
                                                                        5
                                                                          Attorneys for Victor Franco Noval, Peter Marco, LLC, and First International Diamond,
                                                                        6 Inc.

                                                                        7 Ronald Richards (CA Bar No. 176246)
                                                                           ron@ronaldrichards.com
                                                                        8 Law Offices of Ronald Richards & Associates, APC
                                                                          P.O. Box 11480
                                                                        9 Beverly Hills, California 90213
                                                                          Telephone: 310.556.1001
                                                                       10 Facsimile: 310.277.3325
  A Professional Corporation




                                                                       11 Attorneys for Victor Franco Noval
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 Baruch C. Cohen (CA Bar No. 159455)
                                                                           baruchcohen@baruchcohenesq.com
                                                                       13 Law Office of Baruch C. Cohen, APLC
                                                                          4929 Wilshire Boulevard, Suite 940
                                                                       14 Los Angeles, California 90010
                                                                          Telephone: 323.937.4501
SulmeyerKupetz,




                                                                       15 Facsimile: 888.316.6107

                                                                       16 Attorneys for Peter Marco, LLC and First International Diamond, Inc.

                                                                       17                                  UNITED STATES BANKRUPTCY COURT

                                                                       18                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

                                                                       19 In re                                              Case No. 2:20-bk-13530-BR

                                                                       20 JADELLE JEWELRY AND DIAMONDS,                      Chapter 7
                                                                          LLC,
                                                                       21                                                    REPLY TO OBJECTION TO
                                                                                                                             PETITIONING CREDITORS’ MOTION
                                                                       22                                                    FOR ORDER REQUIRING
                                                                                              Debtor.                        EXAMINATION AND PRODUCTION OF
                                                                       23                                                    DOCUMENTS BY COHEN WILLIAMS
                                                                                                                             LLP PURSUANT TO RULE 2004 OF THE
                                                                       24                                                    FEDERAL RULES OF BANKRUPTCY
                                                                                                                             PROCEDURE
                                                                       25
                                                                                                                             DATE: August 11, 2020
                                                                       26                                                    TIME: 10:00 a.m.
                                                                                                                             PLACE: Courtroom “1668”
                                                                       27

                                                                       28


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                                                                        1                     Creditors, Victor Franco Noval (“Noval”), Peter Marco, LLC (“Marco”), and

                                                                        2 First International Diamond, Inc. (“First International” and together with Noval and Marco,

                                                                        3 the “Creditors”), hereby submit their “Reply to Objection to Petitioning Creditors’ Motion

                                                                        4 for Order Requiring Examination and Production of Documents By Cohen Williams LLP

                                                                        5 Pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure” (the “Reply”), in

                                                                        6 response to the “Objection to Petitioning Creditors’ Motion for Order Requiring

                                                                        7 Examination and Production of Documents By Cohen Williams LLP Pursuant to Rule

                                                                        8 2004 of the Federal Rules of Bankruptcy Procedure” (the “Objection”), filed by Jona

                                                                        9 Rechnitz (“Jona”) and Rachel Rechnitz (“Rachel” and together with Jona, the

                                                                       10 “Rechnitz’s”) in response to the “Notice of Motion and Motion for Order Requiring
  A Professional Corporation




                                                                       11 Production of Documents Pursuant to Rule 2004 of the Federal Rules of Bankruptcy
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12 Procedure; Memorandum of Points and Authorities; Declaration of Ronald Richards in

                                                                       13 Support Thereof” (the “Motion”), filed by Creditors, and represent as follows:

                                                                       14                                                       I.
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                                                                       15                                              BACKGROUND

                                                                       16                     Continuing their pattern of obstructionist behavior, the Rechnitz’s, who,
                                                                       17 admittedly, are not debtors and are not the subject of the Rule 2004 examination, are

                                                                       18 interposing objections on behalf of Cohen Williams. The Rechnitz’s motives are simple -

                                                                       19 to thwart Creditors and, ultimately, the Trustee, from tracing the whereabouts of millions

                                                                       20 of dollars of absconded cash and precious gems.1 The Court must refrain from allowing

                                                                       21 the Rechnitz’s to again stymie the legitimate rights of Creditors to seek to uncover the

                                                                       22 scope of the Debtor’s fraud.

                                                                       23                     It is not bad enough that the Rechnitz’s have violated virtually every court

                                                                       24 order in this case, but now they are interfering with Creditors’ statutorily permitted efforts

                                                                       25
                                                                            1
                                                                       26     Unless otherwise stated, the use of capitalized terms herein shall have the meaning ascribed to them in
                                                                            the “Notice of Motion and Motion for Order Requiring Production of Documents Pursuant to Rule 2004 of
                                                                       27   the Federal Rules of Bankruptcy Procedure; Memorandum of Points and Authorities; Declaration of Ronald
                                                                            Richards in Support Thereof” (the “Motion”).
                                                                       28


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                                                                        1 to locate fraudulently transferred assets by falsely claiming that Creditors did not strictly

                                                                        2 comply with this Court’s meet and confer rules. Not only is the contention untrue, as

                                                                        3 evidenced by the declaration of Ronald Richards appended to the Motion, but the

                                                                        4 Rechnitz’s lack the standing to object to the examination of Cohen Williams which failed

                                                                        5 to oppose the Motion on its own behalf. When Creditors get around to seeking the

                                                                        6 examinations of the Rechnitz’s - a day which surely is coming - the Rechnitz’s can raise

                                                                        7 whatever meritless objections they can concoct in an attempt to hide the truth from the

                                                                        8 Court. However, this Motion, which only involves Cohen Williams, must be granted.

                                                                        9                                                    II.

                                                                       10             THE RECHNITZ’S HAVE NO STANDING TO OBJECT TO THE LIMITED
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                                                                       11                                       EXAMINATION OF THEIR LAW FIRM
                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
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                                                                       12                     To begin with, it must be noted that the target of the Rule 2004 examination
                                                                       13 - Cohen Williams - did not object to the Motion, making this an uncontested motion. The

                                                                       14 Rechnitz’s are nothing more than interlopers, seeking to meddle in the administration of
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                                                                       15 the estate which they know will uncover the breadth of their fraud. As such, they have no

                                                                       16 standing to interpose objections on Cohen Williams’ behalf. In this regard, Local

                                                                       17 Bankruptcy Rule 2004-1(f) clearly states that, “[t]he party whose examination is

                                                                       18 requested may file a motion for protective order if grounds exist under FRBP 7026 and

                                                                       19 F.R.Civ.P. 26(c).” (Emphasis added). Thus, under the Local Bankruptcy Rules, only

                                                                       20 Cohen Williams has the requite standing to object to the Motion or seek to limit the

                                                                       21 production of documents through a motion requesting a protective order. The Rechnitz’s

                                                                       22 profound lack of standing is further supported by governing law limiting who can move to

                                                                       23 quash a subpoena which, in essence, is what the Rechnitz’s are seeking to accomplish

                                                                       24 here.

                                                                       25                     Numerous courts have held that parties who are not subject to a subpoena

                                                                       26 lack standing to move to quash a subpoena. See Clair v. Schlachter, 2016 U.S. Dist.

                                                                       27 LEXIS 67562, 2016 WL 2984107, at *5 (E.D. Cal. May 23, 2016) (only party to the

                                                                       28 subpoena may move to quash under Rule 45(d)(3)(A)). The only potential exception is


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                                                                        1 when the objecting party claims some personal right or privilege with regard to the

                                                                        2 documents sought. Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965, 973 (C.D.

                                                                        3 Cal. 2010); California Sportfishing Prot. All. v. Chico Scrap Metal, Inc., 299 F.R.D. 638,

                                                                        4 643 (E.D. Cal. 2014) (“a party has no standing to quash a subpoena served upon a third

                                                                        5 party, except as to claims of privilege relating to the documents being sought”); but see In

                                                                        6 re Rhodes Companies, LLC, 475 B.R. 733, 741 (D. Nev. 2012) (declining to adopt the

                                                                        7 “personal right or privilege” standing rule for motions to quash and concluding that only

                                                                        8 the party subject to the subpoena may bring a motion to quash).

                                                                        9                     In those rare instances where courts will entertain motions to quash

                                                                       10 subpoenas filed by non-deponents on privacy or privilege grounds, the objecting party
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                                                                       11 bears the burden of establishing “a personal right or privilege” in the information being
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                                                                       12 sought. See Stein v. Tri-City Healthcare Dist., 2014 U.S. Dist. LEXIS 62654, 2014 WL

                                                                       13 1795903, at *2 (E.D. Cal. May 6, 2014); see also United States v. Tomison, 969 F. Supp.

                                                                       14 587, 596 (E.D. Cal. 1997) (since standing goes to the jurisdiction of the court, the party
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                                                                       15 attempting to invoke the court’s jurisdiction to quash the subpoenas has the burden of

                                                                       16 demonstrating that it has standing). In addition, a party does not “have standing to quash

                                                                       17 a subpoena on the basis that the non-party recipient of the subpoena would be subjected

                                                                       18 to an undue burden when the non-party has failed to object.” Kremen v. Cohen, 2012

                                                                       19 U.S. Dist. LEXIS 84328, 2012 WL 2277857, at *3 (N.D. Cal. June 18, 2012) (quoting

                                                                       20 Finley v. Pulcrano, 2008 U.S. Dist. LEXIS 83821, 2008 WL 4500862, at *4 (N.D. Cal. Oct.

                                                                       21 6, 2008)).

                                                                       22                     Here, the Rechnitz’s make no attempt to assert a claim of privilege or

                                                                       23 privacy relating to the information at issue. How could they? Not only will the Rechnitz’s

                                                                       24 never submit a declaration to this Court on any fact-related topic, since they know they

                                                                       25 would be committing perjury if they did so, but the limited documents being sought do not

                                                                       26 invade the attorney-client relationship. Thus, instead of raising any privacy or privilege

                                                                       27 objection with admissible evidence, the Rechnitz’s simply assert, on Cohen Williams’

                                                                       28 behalf, alleged deficiencies in the Local Bankruptcy Rule’s meet and confer conference,


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                                                                        1 to which neither Jona nor Rachel were a party.

                                                                        2                     As demonstrated, the Rechnitz’s, as non-debtors and non-deponents, lack

                                                                        3 the standing to raise any substantive objection to the Motion, whether it be an alleged

                                                                        4 lack of compliance with the Local Bankruptcy Rules or the purported burden and expense

                                                                        5 being imposed on Cohen Williams. If Cohen Williams was not so willing to let the

                                                                        6 Rechnitz’s do its bidding, it could have filed its own objection or sought a protective order.

                                                                        7 Choosing to let the Rechnitz’s be its mouthpiece, Cohen Williams cannot not now object

                                                                        8 to the Motion.2

                                                                        9                                                        III.

                                                                       10         CREDITORS COMPLIED WITH THE MEET AND CONFER REQUIREMENTS OF
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                                                                       11                                   LOCAL BANKRUPTCY RULE 2004-1(a)
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                               LOS ANGELES, CALIFORNIA 90071-1406
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                                                                       12                     In accordance with Local Bankruptcy Rule 2004-1(a), prior to filing the
                                                                       13 Motion, Creditors conferred with Cohen Williams several times regarding the nature and

                                                                       14 scope of the requested document production and examination. However, as
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                                                                       15 demonstrated by the declaration of Ronald Richards appended to the Motion, and

                                                                       16 actually reinforced by the declaration of Marc Williams, Cohen Williams refused to

                                                                       17 consent to the requested Rule 2004 production and examination without Creditors first

                                                                       18 agreeing to stipulate to the terms of a protective order. Creditors refused to accede to

                                                                       19 Cohen Williams’ inappropriate demand.

                                                                       20                     The Rechnitz’s, however, contend that the meet and confer was insufficient

                                                                       21 since Creditors did not discuss each and every document request contained in the

                                                                       22 Motion. Setting aside the Rechnitz’s inarguable lack of standing, their interpretation of

                                                                       23 Rule 2004-1(a) is mind boggling. Nowhere in Rule 2004-1(a) is there a requirement that

                                                                       24 the parties discuss each and every specifically contemplated request for documents. The

                                                                       25
                                                                            2
                                                                                In its “Order Regarding Further Briefing and Setting Hearing On Motion On August 11, 2020 At 10:00
                                                                       26 a.m.,” entered on July 27, 2020 [Docket No. 123], the Court specifically stated that “[n]o further briefing may
                                                                            be filed in connection with the Motion.”
                                                                       27

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                                                                        1 Rule explicitly states as follows:

                                                                        2                     Prior to filing a motion for examination or for production of

                                                                        3                     documents under FRBP 2004, the moving party must

                                                                        4                     attempt to confer (in person or telephonically) with the entity

                                                                        5                     to be examined, or its counsel, to arrange for a mutually

                                                                        6                     agreeable date, time, place, and scope of an examination or

                                                                        7                     production.

                                                                        8                     Where in this Rule is there a requirement that a moving party discuss each

                                                                        9 and every potential request for documents? That is a rhetorical question of course, since

                                                                       10 there is no such requirement. All a moving party must do is confer regarding the
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                                                                       11 proposed date and scope of the examination. And, in both instances, Creditors complied
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                                                                       12 with the Rule.

                                                                       13                     As Mr. Richards stated in his declaration, he discussed the proposed Rule

                                                                       14 2004 examination with Marc Williams, who refused Creditors’ requested examination
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                                                                       15 unless Creditors first agreed to a protective order, which Creditors would not sign.

                                                                       16 Therefore, the proposed date of the examination was rendered moot by Cohen Williams’

                                                                       17 insistence on setting inappropriate pre-conditions which Creditors would not abide by. To

                                                                       18 imply that Creditors were still obligated to propose a date under these circumstances

                                                                       19 would make a mockery of the limited obligations imposed on a moving party by Rule

                                                                       20 2004-1(a).

                                                                       21                     During these meet and confer discussions, again as evidenced by emails

                                                                       22 attached to Mr. Richards declaration, the scope of the Rule 2004 examination also was

                                                                       23 discussed at length, and Cohen Williams cannot feign ignorance regarding the limited

                                                                       24 information which was being sought. Just because the Rechnitz’s want to continue to

                                                                       25 shield their family members from potential lawsuits, since they likely funneled the ill-

                                                                       26 gotten gains of their fraud through them to numerous third parties, including Cohen

                                                                       27 Williams, is no reason to deny the Motion. As stated, the scope of the examination was

                                                                       28 discussed at length during the meet and confer and the Motion does not contain “newly


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                                                                        1 made” requests outside of what was initially discussed.

                                                                        2                     Creditors went above and beyond what is typically required in a Rule 2004-

                                                                        3 1(a) meet and confer conference and nothing more was required. The Rechnitz’s

                                                                        4 attempt to re-write Rule 2004-1(a) by grafting on language that requires each and every

                                                                        5 potential document request to be discussed must be rejected. In any event, what would

                                                                        6 a new pre-filing conference, which the Rechnitz’s request, accomplish? Cohen Williams,

                                                                        7 again advancing the Rechnitz’s agenda of hide and seek, would simply reiterate its

                                                                        8 request that Creditors agree to a protective order, which is something they simply will not

                                                                        9 do under any circumstances. Therefore, the Court should resist the improper request

                                                                       10 that Creditors be put through another insincere meet and confer conference meant to
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                                                                       11 accomplish no other purpose than delay the inevitable and force Creditors to incur further
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                                                                       12 fees and expenses.

                                                                       13                                                   IV.

                                                                       14     IF COHEN WILLIAMS OPPOSED THE MOTION IT COULD HAVE FILED A MOTION
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                                                                       15                                       FOR A PROTECTIVE ORDER
                                                                       16                     The Rechnitz’s contend that it is perfectly reasonable for Cohen Williams to
                                                                       17 demand a protective order before producing relevant documents meant to expose the

                                                                       18 breadth of the Debtor’s fraud. Creditors disagree, and there is no rule requiring them to

                                                                       19 agree to a protective order before the Motion was filed. If Cohen Williams believed a

                                                                       20 protective order was warranted, it could have filed a motion as the Local Bankruptcy

                                                                       21 Rules allow, and Creditors would have filed the necessary response. Instead, Cohen

                                                                       22 Williams let the Rechnitz’s be the tail wagging the dog. As such, Creditors will not play

                                                                       23 the Rechnitz’s game and start litigating the issue of whether a protective order is

                                                                       24 appropriate when no motion was filed by the actual target of the Motion, and it certainly

                                                                       25 will not litigate this issue when it is being broached by the Rechnitz’s.

                                                                       26                     The further suggestion that Creditors are somehow precluded from

                                                                       27 exercising their rights under the Code since the Court found them to be ineligible under

                                                                       28 Section 303 is a new low, even for the Rechnitz’s. Numerous times the Court found that


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                                                                        1 Creditors hold legitimate claims totaling millions of dollars. Whether they were eligible or

                                                                        2 not is not an issue precluding Creditors from now exercising their rights under Rule 2004.

                                                                        3 The Rechnitz’s and their cohorts, not Creditors, are the ones continuing to harass

                                                                        4 innocent parties by constantly interposing baseless objections and filing frivolous appeals

                                                                        5 and motions.

                                                                        6                      The fact that the Rechnitz’s could even suggest that the Rule 2004

                                                                        7 examination will exacerbate the ongoing reputational and financial damage to the Debtor

                                                                        8 and the Rechnitz’s shows how detached they are from reality. Jona is a convicted felon

                                                                        9 and admitted fraudster. The Debtor, as conceded by its counsel during this case, is a

                                                                       10 non-operating entity, which this Court now realizes was being used by Jona and his wife
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                                                                       11 to steal millions of dollars of precious gems and cash from innocent parties. So any
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                                                                       12 alleged damage to Jona, Rachel, or the Debtor is a compete fabrication.

                                                                       13                      Equally spurious is the suggestion that the administration of the Debtor’s

                                                                       14 case should stop before it even gets started because the Debtor and the Rechnitz’s have
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                                                                       15 appealed a number of this Court’s orders. Noticeably absent from the Objection is the

                                                                       16 known fact that on July 20, 2020, Creditors filed a motion to dismiss the Debtor’s and the

                                                                       17 Rechnitz’s appeals which is set for hearing on August 17, 2020.3 Also missing from the

                                                                       18 Motion is the known fact that the Debtor’s request for a stay pending appeal was denied

                                                                       19 by this Court and, although it was refiled with the District Court, it has not even been set

                                                                       20 for hearing. And although the Rechnitz’s themselves are seeking a stay pending their

                                                                       21 separate appeals, their motions are procedurally defective since not only did they lack the

                                                                       22 necessary standing to appeal this Court’s orders, but neither of them first sought a stay

                                                                       23 from this Court as required.

                                                                       24

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                                                                            3
                                                                                On July 27, 2020, the Trustee filed his own motion to dismiss the Debtor’s appeal for lack of authority and
                                                                       27 to dismiss the Rechnitz’s appeals for lack of standing. The Trustee’s motion is scheduled for hearing on
                                                                            August 24, 2020.
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                                                                        1                     To forestall Creditors, and the Trustee, from investigating the

                                                                        2 disappearance of millions of dollars of gems and cash under these facts would be

                                                                        3 extremely prejudicial and would indeed be catastrophic for other victims. Each day that

                                                                        4 passes allows the Rechnitz’s and their co-conspirators to destroy crucial evidence and

                                                                        5 place assets further out of the reach of the Trustee. No prejudice or harm will befall

                                                                        6 Cohen Williams if it is required to produce the limited documents being sought by

                                                                        7 Creditors, and the Court must put an end to the nonsensical parade of groundless

                                                                        8 motions and objections filed by the Rechnitz’s whose sole goal is to continue to shield

                                                                        9 assets and evidence from Creditors and this Court.

                                                                       10                                                      V.
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                                                                       11                                                CONCLUSION
                               333 SOUTH GRAND AVENUE, SUITE 3400
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                                                                       12                     The scope of a Rule 2004 examination is “unfettered and broad” and is akin
                                                                       13 to a “fishing expedition.” In re GHR Energy Corp., 33 B.R. 451, 453-54 (Bankr. D. Mass.

                                                                       14 1983). When a party seeks to conduct a Rule 2004 examination, and the party to be
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                                                                       15 examined objects, the former must show that it has “good cause” to conduct the

                                                                       16 examination. In re Wilcher, 56 B.R. 428, 434 (Bankr. N.D. Ill. 1985). Setting aside the

                                                                       17 fact that Cohen Williams, the proposed deponent, did not object, there is good cause for

                                                                       18 the production and examination. Creditors will continue to pursue the location of the

                                                                       19 plundered cash and gems from the Debtor, and the examination of Cohen Williams will

                                                                       20 aid Creditors as they begin to trace the funds used to pay the Rechnitz’s team of well-

                                                                       21 paid lawyers. Since there is no evidence showing that the examination would be

                                                                       22 oppressive or burdensome, and since the Rechnitz’s lack the standing to oppose the

                                                                       23                                  [Remainder of page intentionally left blank]

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                                                                        2 Motion on Cohen Williams’ behalf, the Objection must be overruled and the Motion

                                                                        3 granted.

                                                                        4 DATED: July 28, 2020                        SulmeyerKupetz
                                                                                                                      A Professional Corporation
                                                                        5

                                                                        6

                                                                        7                                             By: /s/ Daniel A. Lev         _________________
                                                                                                                          Daniel A. Lev
                                                                        8                                                 Attorneys for Victor Franco Noval, Peter
                                                                                                                          Marco, LLC, and First International Diamond,
                                                                        9                                                 Inc.
                                                                       10 DATED: July 28, 2020                        Law Offices of Ronald Richards & Associates, APC
  A Professional Corporation




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                               333 SOUTH GRAND AVENUE, SUITE 3400
                               LOS ANGELES, CALIFORNIA 90071-1406
                                TEL 213.626.2311 • FAX 213.629.4520




                                                                       12
                                                                                                                      By: /s/ Ronald Richards       _________________
                                                                       13                                                 Ronald Richards
                                                                                                                          Attorneys for Victor Franco Noval
                                                                       14

                                                                       15 DATED: July 28, 2020                        Law Office of Baruch C. Cohen, APLC
SulmeyerKupetz,




                                                                       16

                                                                       17
                                                                                                                      By: /s/ Baruch C. Cohen
                                                                       18                                                 Baruch C. Cohen
                                                                                                                          Attorneys for Peter Marco, LLC and First
                                                                       19                                                 International Diamond, Inc.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): REPLY TO OBJECTION TO PETITIONING
CREDITORS’ MOTION FOR ORDER REQUIRING EXAMINATION AND PRODUCTION OF DOCUMENTS BY COHEN
WILLIAMS LLP PURSUANT TO RULE 2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 July 28, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) July 28, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Marc Williams, Esq.
Cohen Williams LLP
724 South Spring Street, Ninth Floor
Los Angeles, CA 90014


                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 July 28, 2020                             Cheryl Caldwell                                      /s/Cheryl Caldwell
 Date                                      Printed Name                                         Signature




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Carolyn A Dye trustee@cadye.com
Sam S Leslie (TR) sleslie@trusteeleslie.com, SLESLIE@ECF.AXOSFS.COM;trustee@trusteeleslie.com
Daniel A Lev dlev@sulmeyerlaw.com, ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
Robert S Marticello Rmarticello@swelawfirm.com,
gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
Ronald N Richards ron@ronaldrichards.com, morani@ronaldrichards.com,justin@ronaldrichards.com
Neal Salisian ECF@salisianlee.com
Michael Simon msimon@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
Derrick Talerico dtalerico@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




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